
PER CURIAM.
We affirm, based on the authority of Clem v. State, 462 So.2d 1134 (Fla. 4th DCA 1984), in which this court certified the following questions to the Supreme Court of Florida:
1. WHEN A PERSON IS SENTENCED AS A YOUTHFUL OFFENDER PURSUANT TO CHAPTER 958.-05(2), FLORIDA STATUTES (1979), DOES THE CIRCUIT COURT HAVE JURISDICTION TO REVOKE THE COMMUNITY CONTROL PROGRAM STATUS OF THAT PERSON?
2. IF THE ANSWER TO THE FOREGOING QUESTION IS IN THE POSITIVE, MAY THE CIRCUIT COURT, UPON REVOCATION OF A YOUTHFUL OFFENDER’S COMMUNITY CONTROL PROGRAM STATUS, TREAT THE DEFENDANT AS THOUGH IT HAD NEVER PLACED HIM IN COMMUNITY CONTROL AND SENTENCE HIM IN ACCORDANCE WITH SECTION 948.06(1), FLORIDA STATUTES?
We again certify those questions to the Supreme Court of Florida as questions of great public importance.
ANSTEAD, C.J., and GLICKSTEIN and WALDEN, JJ., concur.
